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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Miami Division
                                        www.flsb.uscourts.gov

In re:                                                      Case No. 18-14506-BKC-LMI

MIAMI BEVERLY, LLC                                          Chapter 11 (Lead Case)

                                                            Jointly Administered

1336 NW 60, LLC                                             Case No. 18-14509-BKC-LMI
REVEREND, LLC                                               Case No. 18-14510-BKC-LMI
13300 ALEXANDRIA DR. HOLDINGS, LLC                          Case No. 18-14511-BKC-LMI
THE HOLDINGS AT CITY, LLC                                   Case No. 18-14512-BKC-LMI

      Debtors.
_____________________________________/

  JOINT DEBTORS’ EXPEDITED MOTION FOR ENTRY OF ORDER (A) AUTHORIZING
  PRIVATE SALE OF REAL PROPERTIES PURSUANT TO 11 U.S.C. § 363, FREE AND
      CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES; (B) APPROVING
  PURCHASE AND SALE CONTACT AND AUTHORIZATION TO EXECUTE ANY AND
 ALL DOCUMENTS TO EFFECTUATE CLOSING OF THE SALE; (C) AUTHORIZING THE
    DEBTORS TO ASSUME AND ASSIGN APARTMENT LEASE CONTRACTS; (D)
 APPROVING PAYMENT OF COMPENSATION TO PROPOSED BROKER/AUCTIONEER
 ASSOCIATED WITH TRANSACTION; (E) SHORTENING REQUIRED NOTICE PERIOD1

                  Expedited Hearing Scheduled On October 4, 2018 Pursuant To
                           Court’s Oral Ruling On September 26, 2018

           Debtors2, Miami Beverly LLC, 1336 NW 60 LLC, and The Holdings At City, LLC (the

 “Debtors”), by counsel, pursuant to 11 U.S.C. §§ 105, 363 and 365, and Bankruptcy Rules

 2002(a) and (c)(1), and 6004(a), request the Court enter an order on an expedited basis: (a)

 authorizing the sale of certain real properties free and clear of all liens, claims, and

 encumbrances; (b) approving the attached purchase and sale contract and authorization

 Debtors to execute any and all documents to effectuate closing of the sale; (c) authorizing


 1   By filing of this Motion, the Debtors are withdrawing the Motion to Sell [ECF #154].
 2 As detailed in this Motion, two of the jointly administered debtors, 13300 Alexandria Drive Holdings Dr.
 LLC and the Reverend, LLC are not subject to this Motion to sell. Those Debtors will file separate
 pleadings with respect to the properties they own.

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the Debtors to assume and assign to Purchaser lease contracts; (d) approving payment of

compensation to proposed broker/auctioneer associated with the transaction; and (e)

shortening period required to notice private sale (the “Motion”). In support of the Motion,

Debtors state as follows:

                                    JURISDICTION AND VENUE

        1.     This Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (M), (N) and (O).

        2.     Venue of this proceeding and the Motion is proper in this district pursuant to

28 U.S.C. § 1409.

        3.     The statutory bases for the relief sought herein are sections 363 of chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 6004 and 9014 of

the Federal Rules of Bankruptcy Procedure.

                                          BACKGROUND

        4.     On April 17, 2018, less than five months ago, the Debtors commenced these

jointly administered cases by filing voluntary petitions for relief under Chapter 11 of the

Bankruptcy Code (the “Petition Date”). The Debtors are operating their business(es) and

managing their affairs as debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and

1108.

        5.     To date, no trustee, examiner or creditors’ committee has been appointed in

these cases.

                                           The Properties

        6.     The Debtors assets are compromised of the following real properties

(collectively, the “Properties”):




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   Name of Debtor/Owner                      Property Address                   Property Folio
                                                                                   Number
     Miami Beverly, LLC            1250 NW 62 St, Miami, FL 33147-8175         01-3114-043-0290
     Miami Beverly, LLC            1231 NW 61 St, Miami, FL 33147-8175         01-3114-043-0291
     Miami Beverly, LLC           6040 NW 12 Ave, Miami, FL 33147-8175         01-3114-043-0540
      1336 NW 60, LLC              1335 NW 60 St, Miami, FL 33142-8277         01-3114-043-0790
      1336 NW 60, LLC              1341 NW 60 St, Miami, FL 33142-8277         01-3114-043-0800
   The Holdings at City, LLC       1710 NW 1 Ct, Miami, FL 33136-1700          01-3125-048-1060

       7.      In addition to the foregoing Properties, there are two additional related, jointly

administered Debtors, who own properties that are not subject to this Motion. A separate

and subsequent pleading will address the status of those properties. However, for

clarification purposes, the following Real Properties are not subject of this Motion:

   Name of Debtor/Owner                      Property Address                   Property Folio
                                                                                   Number
       Reverend, LLC                6820 NW 1 St, Miami, FL 33147-7475         01-3115-005-1240
13300 Alexandria Dr. Holdings,      1730 NW 1 Ct, Miami, FL 33136-1748         01-3125-048-1050
            LLC


       8.      The Properties are apartment buildings, and the Debtors lease certain units in

the apartment buildings to third parties (the “Leases”).

                                 Claims Secured and Unsecured

       9.      On December 24, 2015, final judgments (the “Judgments”) were entered in

favor of the City of Miami, Florida and against the Debtors. The Debtors are analyzing

various mechanisms for the consensual reduction of the City of Miami Judgments due to

extensive mitigation of the violations.

       10.     While the Properties are not encumbered by any mortgages, the Properties

are encumbered by the Judgments, which have been recorded against the specific entity

defendant/ Debtor on the Miami-Dade County Recorder’s Office as judgment liens.

       11.     Creditors’ proof of claim deadline in these jointly administered bankruptcy

cases was August 20, 2018.




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          12.     Attached hereto as Exhibit “A” is an analysis of all claims that have either

been filed against the Debtors that are subject of this Motion. 3 The total amount secured

and unsecured claims (whether or not allowed) in the Debtors cases is $6,207,865 (the

“Total Claims”).4

          13.     Additionally, included in Exhibit “B”, attached hereto, is the total estimated

and known administrative fees for these jointly administered bankruptcy cases in the

amount of $98,877.50 (“Total Administrative Claims”)5.

                      The Receivership / Custodianship and Required Sale

          14.      During a certain period of time prior to the Petition Date, the Properties were

managed by Linda Leali, as court-appointed Receiver (the “Receiver”) in the matter styled

City of Miami v. Miami Beverly LLC, et al. (Case No. 2014-027781-CA-01) (the

“Receivership Case”).

          15.     On June 14, 2018, the Court entered an Agreed Order Granting, in Part,

Amended Motion Pursuant to 11 U.S.C. § 543(d)(1) to Excuse Receiver from Compliance

With Turnover Requirements and to Establish Powers and Duties of Receiver Nunc Pro

Tunc to Petition Date [ECF No. 78] (the “543 Order”).

          16.     The 543 Order set forth the mechanism whereby the Receiver shall remain as

a custodian in possession, custody and control of the Properties (the “Custodian”).

However, pursuant to the 543 Order, the Custodian was not given authority to liquidate any

of the Debtors’ assets, with that authority remaining vested in the Debtors. The 543 Order

required the Debtors to liquidate the Properties.
3With exception of duplicative claims filed, there are only judgment lien secured claims by the City of
Miami that were filed against the other jointly administered debtors, which are not the subject of this
Motion. Those debtors intend to file separate pleadings to address those claims.

4 The claims exclude those secured claims by the City of Miami that were filed against the debtor entities
that are not subject of this Motion: 13300 Alexandria Holdings Dr. LLC and Reverend, LLC.

5   Administrative Costs excludes retainer amounts held by undersigned counsel.

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                                 Initial Sale Efforts and
                    Threshold Requirements for a Proposed Private Sale

        17.      As such, the Debtors previously filed several motions to sell the Properties,

which were subsequently amended, denied and/or withdrawn (the “Initial Sale Motions”).

        18.      On September 23, 2018, the Debtors filed their Expedited Application to

Employ (the “Application”) [ECF # 147] Wilbert “Will” Reynoso and Moecker Realty

Auctions, LLC as Broker/Auctioneer (the “Broker”).

        19.      On September 26, 2018 the Court held a hearing on the last of the Motions to

Sell [ECF # 154] (and the Application), and ordered the Debtors to file motion to approve a

private sale, if such a sale can be entered into, by September 28, 2018.6

        20.      The Court placed the following pre-conditions (the “Pre-Conditions”) for

submission of a private sale for approval before the Court:

        a) Escrow of Funds for Remediations - Given the required remediations of the

              Properties, any sale agreement must provide for an escrow of $200,000 in

              additional funds by a proposed buyer. The funds would be in addition to a

              commitment by the buyers to complete the required remediations and repairs of

              the Properties;

        b) Debtors’ Equity Contribution for Existing Repairs – Debtors’ equity owners must

              commit at least $50,000 in funds to be held in trust by their counsel to fund

              existing repairs, and provide a definitive timetable for such repairs to be made.

        c) Sale Price Must Exceed Claims - The sale price must exceed the aggregate of

              Total Claims, Total Administrative Claims and transactional costs associated

              with sale agreement; and

6 Given the expedited nature of this Motion, at present no order has been entered on the Court’s docket.
The Court further ordered that in the event no such private sale is filed, or the sale is not approved at a
subsequent hearing to be held on October 4, 2018, the Court will order the appointment of a Chapter 11
trustee.

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        d) Specifics in Contract - The sale contract to be proposed must provide specifics.

       21.     Through this Motion, the Debtors respectfully request, among other things,

approval of the sale of the Properties free and clear of any liens, claims and encumbrances,

and approval of the proposed contract, and authorization to execute all documents

necessary to effectuate closing of the transaction.

       22.    As such, since the date of the Initial Sale Motions, the Debtors’

representatives have communicated with numerous interested parties regarding a highest

and best offer, primarily one that is not owner-financed, that is an all cash offer, that a

significant deposit has been made, and that can meet and exceed the foregoing Pre-

Conditions. As evidenced by the Court records, and explained at various hearings, there are

many interested parties, but very few parties that can meet the minimal threshold

requirements to enter into the sale transaction.

                              THE PROPOSED PRIVATE SALE

                        Sale Amount and Arm Length Transaction

       23.    Thereafter, on September 28, 2018, the Debtors received an offer to

purchase the Properties (in bulk) from 101 Apartments Holdings, LLC (the “Purchaser”) in

the amount of $6,550,000. The contemplated transaction is an arms-length transaction,

and neither the Purchaser, nor any of its member(s), are insiders of any of the Debtors.

Further, no separate transaction has been entered into by and between the Purchaser and

the principals/insiders of the Debtors. The Purchaser, as one of the terms of the transaction

has agreed to execute an affidavit attesting to the same (the “Affidavit”). A copy of the

Affidavit will be filed with the Court prior to the hearing on this Motion on October 4, 2018.

                         Background on the Purchaser’s Principal

       24.    The Affidavit will further provide background on the principal and sole owner

of the Purchaser, Mr. Peter Polities. Mr. Polities is the owner of Mr. Greens Produce, a

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reputable produce distribution company in the region. The Affidavit will outline to the Court

the degree of Mr. Polities’ commitment to the remediations of the Properties and otherwise

to the community-at-large. Mr. Polities has extensive involvement with the City of Miami and

City of Miami Beach. He has been recognized for his efforts in the community, including his

treatment of his own employees, many of whom reside in the neighborhood in which the

Properties are located, as well as his assistance to low income elderly residents of the City

of Miami during Hurricane Irma. In fact, Mr. Polities was recognized by the City for his

efforts during that storm for which he received a key to the City and a day in the calendar

year was named after his company as “Mr. Green’s Day.” Mr. Polities has expressed to

Debtors his vision for the Properties: rehabilitation of the Properties such that they can be

used as affordable housing for some of his employees.

                       The Terms of the Proposed Private Sale Contract

       25.       The offer from the Purchaser is the highest and best offer that the Debtors

have received, which meets all the Pre-Conditions or otherwise, and it is in the Debtors’

principals’ experience in buying and selling real properties, the offer is well in line with

current market prices.

       26.       As such, the Debtors and the Purchaser have agreed to the terms contained

in the “Commercial Contract” (along with addendums) attached hereto as Exhibit “C” (the

“Contract”), the primary material terms of which are as follows:

             a. Purchase Price: $6,550,000 (the “Purchase Price”)7.

             b. Deposit: $1,000,0008.

             c. Cash at Closing: $5,500,000.


       7   The Addendum to Contract apportions the Purchase Price amongst the various Properties.
       8 The deposit is presently held by the escrow agent for the transaction, a reputable real estate
board certified attorney, Mr. Albert D. Rey of Albert D. Rey, P.A.

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             d. Terms: As-is, where-is, and free and clear of all liens, claims and
                encumbrances.

             e. Closing Date: 20 days following entry of an order granting this Motion.

             f.   Commission: No Commission. However, the Debtors do seek to
                  compensate the Broker, Mr. Reynoso and Moecker Realty Auctions for their
                  assistance in connection with this transaction, and seek authorization of
                  payment of $5,000 to Moecker at closing.

             g. Escrow Amount for Remediation: $300,000 above and beyond the
                Purchase Price to be deposited and used for remediation of the Properties.
                Nonetheless, the Purchaser has further agreed to make available any and all
                additional funds above the foregoing escrowed amounts that are necessary
                for the remediation of the Properties. The Purchaser will endeavor to work
                with the City of Miami to repair and resolve any and all outstanding violations
                in existence after the closing.

             h. Financing: None

             i.   Assignment of Leases: Purchaser shall assume any and all apartment
                  leases in existence, none of which shall exceed 1 year, and shall otherwise
                  work with the Custodian to facilitate the transfer of all available security
                  and/or last month deposits.

             j.   Operations During Interim Period. During interim period between approval
                  of the Contract and Closing, Custodian may continue operating the Properties
                  and enter into any lease agreement in normal course of business under
                  market lease terms that no more than 12 months in term. Turnover of the
                  Properties shall be done in cooperation with the Custodian, who is necessary
                  to facilitate the transfer of the Properties to the Purchaser. Equity shall
                  continue with the repairs to the properties as set forth in the weekly schedule
                  of repairs filed separately.

             k. Subject to Bankruptcy Court approval

       27.        The Purchaser has already deposited $1,000,000 with the escrow agent and

provided the Debtors proof of funds sufficient to close the transaction.

                     Equity Owner’s Commitment of Funds and Schedule

       28.        Contemporaneously with the filing of this Motion, equity owners of the

Debtors have filed a notice indicating $50,000 has been deposited with their counsel, and

including a weekly schedule of repairs [DE #176].



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                    The Net Proceed to Estate Exceed All Transaction Costs,
                            Claims Filed, and Administrative Claims

          29.     The Debtors submit that the purchase price exceeds the aggregate of the

Total Claims, Total Administrative Claims, and transactional costs.

          30.     Included in Exhibit “B” is an analysis demonstrating the following:

                  a) Purchase Price:                                       $6,550,000

                  b) Estimated Transactional Costs:                        ($83,775.00)

                  c) Cash Available To Debtors:                            $6,466,225.00

                  d) Total of Claims and Administrative Expenses: ($6,306,742.66)

                  e) Net Amount Available9 to Equity:                      $159,482.34

          31.     Accordingly, the proposed Contract meets the Pre-Condition set by the Court.

                                           RELIEF SOUGHT

                                 The Sale Should Be Approved
                           Pursuant to 11 U.S.C. §§ 363(b), (f)(3) and (m)

          32.     The Debtors request that the Court approve the sale of the Properties to the

Purchaser, pursuant to 11 U.S.C. § 363(f), free and clear of any and all liens, claims and

encumbrances, upon the terms set forth above. The Debtors also request that the Court

authorize the Debtors to enter into the Contract and approve the payment of Broker as

outlined herein.

          33.     Pursuant to 11 U.S.C. § 363(b), “[t]he trustee, after notice and hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the estate.”

          34.     Additionally, 11 U.S.C. § 363(f) permits the Debtors to “…sell property under

subsection (b) … of this section free and clear of any interest in such property of an entity

other than the estate, only if –



9   Before Adjudication of Claims.

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             (1) applicable non-bankruptcy law permits sale of such property free and
                 clear of such interest;
             (2) such entity consents;
             (3) such interest is a lien and the price at which such property is to be
                 sold is greater than the aggregate value of all liens on such property
                 [emphasis added];
             (4) such interest is in bona fide dispute; or
             (5) such entity could be compelled, in a legal or equitable proceeding, to
                 accept a money satisfaction of such interest”.


             35.       With regards to the City of Miami Claim, the sale of the Properties is greater

than the aggregate value of all liens on such Properties, such that 11 U.S.C. 363(f)(3) is

satisfied, as demonstrated below:

                       Name of Debtor/Owner                      Judgment              Purchase
                                                                Amounts ($)10         Amount ($)
                        Miami Beverly, LLC                                            $3,028,567
                        Miami Beverly, LLC                      $163,567.00
                        Miami Beverly, LLC
                         1336 NW 60, LLC                                               $823,164
                                                                $461,577.84
                         1336 NW 60, LLC
                      The Holdings at City, LLC                  $598,632.81          $2,698,269
                                           Totals               $1,223,777.65         $6,550,000


             36.       In addition, all Pre-Conditions set by the Court have been satisfied, including

without limitation the Escrow amount, the amount available to Equity holders after payment

of all transactional costs and claims, the Contract is sufficient in details, and the

principal/insiders of the Debtors have committed the necessary funds for repairs with the

required schedule.

             37.       For all of the above reasons, the Court should authorize the sale of the

Properties, free and clear of any and all liens, claims and encumbrances, with any such

liens, claims and encumbrances to attach to the proceeds.

             38.       Furthermore, the Debtors request that at closing, the Purchaser is deemed to

be a good faith purchaser within the meaning of 11 U.S.C. § 363(m), provided that the

10
     Amount stated as of date of entry of the final judgment.


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Purchaser has complied with all requirements of the Contract. Pursuant to 11 U.S.C. §

363(m), the reversal or modification on appeal of a transaction authorized under Section

363(b) of the Bankruptcy Code does not affect the validity of the sale to an entity that

acquired the property in good faith. The sale is arms-length to a purchaser that will attest

through the Affidavit the he is acquiring the Properties in good faith.

           39.     The Debtors, exercising their business judgment, believe that the sale of the

Properties to the Purchaser is in the best interest of the bankruptcy estate.

           40.     The Debtors request that the Court provide the Debtors with the authority to

close the sale, disburse the sales proceeds and execute any and all documents necessary

to consummate the closing.

                                    Request to Waive the 14-Day Stay

           41.     In order to complete the Sale in the most expeditious manner, the Debtors

request that the Court waive the 14-day stay as under Bankruptcy Rule 6004(h), which

provides that “[a]n order of the court authorizing the use, sale or lease of property ... is

stayed until the expiration of 14 days after the entry of the order, unless the court orders

otherwise.” (emphasis added).

           42.     The Debtors request that the Court waive the stay period under Bankruptcy

Rule 6004(h), so that the parties can comply with the scheduled closing date.

                     Debtors Request Authority to Assume and Assign
              To Purchaser All Apartment Leases Associated with the Properties

           43.     Pursuant to 11 U.S.C. §§ 363(b) and 365(a), the Debtors request this Court’s

authority to execute any and all documents to assume and assign to Purchaser all

apartment leases associated with the Properties.11




11   The Debtors will file a supplemental notice with the list of current leases.

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                             Notice of Sale Should Be Shortened

         44.    Pursuant to Bankruptcy Rules 2002(a), 6004 and Local Rule 2002-1(K) and

6004(1)(A), parties-in-interest should be provided with at least twenty-one day notice of the

sale of the Properties. However, such notice may be shortened for cause shown.

         45.    In light of this Court’s shortened timeline for submission of the instant Motion

(by September 28, 2018, with hearing on approval by October 4, 2018), the Debtors request

this Court shortened the notice period requirements and find that that such notice

constitutes good and sufficient notice of the Motion, and that no further notice need be

given.

         WHEREFORE, the Debtors respectfully request entry of an Order:

         (a)    granting the Motion;

         (b)    authorizing the sale of the Properties to Purchaser, free and clear of all liens,

claims, and encumbrances;

         (c)     authorizing the Debtors through equity to execute any and all documents

necessary to effectuate the closing including the deed and related documents;

         (d)    approving the buyer as a good faith purchaser

         (e)    approving the Contract and authorizing the Debtors to execute all associated

documents to effectuate closing;

         (f)    authorizing the Debtors to assume and assign to purchasers all apartment

lease agreements associated with the Properties, pursuant to the Contract;

         (g)    approving the compensation and payment to Broker in the amount of

$5,000.00;

         (h)    shortening the notice period;

         (i)    waving the 14 day stay; and



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       (i)    granting any and all such further relief as this Court deems appropriate under

the circumstances.

      Dated: September 28, 2018.
                                                     LEIDERMAN SHELOMITH ALEXANDER
                                                     + SOMODEVILLA, PLLC
                                                     Attorneys for the Debtors
                                                     2699 Stirling Road, Suite C401
                                                     Ft. Lauderdale, Florida 33312
                                                     Telephone: (954) 920-5355
                                                     Facsimile: (954) 920-5371

                                                     By:__________/s/_____________
                                                           IDO J. ALEXANDER
                                                           Florida Bar No. 51842
                                                           ija@lsaslaw.com



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on
September 28, 2018 to all parties on the list to receive e-mail notice/service for this case,
via the Notice of Electronic Filing (which is incorporated herein by reference.

                                                     By:_________/s/_____________
                                                           Ido J. Alexander




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                          EXHIBIT “A”
                       (Claims Analysis)




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                                                               Filed Claim Amount    Comments
Miami Beverly, LLC
Leali, as Receiver                                         $            14,070.00 POC # 9
Linda Leali, Individual capacity                           Unliquidated           POC # 10
Linda Leali, P.A.                                          Unliquidated           POC #11 & 12
Messana, P.A.                                              $            38,794.00 POC # 8
Tenants (Gaynisha Williams, Nathaneil Mars, Lakeisha
Catfiled, Shannon Daniels, Lakeisha Chatfield on Behalf
of T.C.                                                    $          1,588,205.00   POC #3,4,5,6, & #7
Miami Development & Holdings, LLC                          $          3,144,595.00   POC # 2
Miami Dade Tax Collector                                   $             37,731.45   POC # 1
City of Miami Judgment (12/24/2015)                        $            163,567.00   POC # 13 & 14
                                                Subtotal   $          4,986,962.45

1336 NW 60 LLC
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Miami Development & Holdings, LLC                         $                  -   Duplication of Claim
Linda Leali, Individual capacity                          Unliquidated           Duplication of Claim
Linda Leali, P.A.                                         Unliquidated           Duplication of Claim
City of Miami Judgment (12/24/2015)                       $           461,577.84
                                                 Subtotal $           461,577.84
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The Holdings at City, LLC
Miami Development                                         $                  -   Duplication of Claim
Linda Leali, Individual capacity                          n/a                    Duplication of Claim
Linda Leali, P.A.                                         Unliquidated           Duplication of Claim
City of Miami Judgment (12/24/2015)                       $           598,632.81
                                                 Subtotal $           598,632.81
                                                                                                          Filed 09/28/18




City of Miami Judgment - Interest (as of 9/27/2018)        $            160,692.06


Grand Total of Claims                                      $          6,207,865.16
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                       EXHIBIT “B”
     (Purchase Price, Payment of Claims Analysis and
                   Administrative Fees)




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                                                         Amounts              Comment
Sale Price                                               $       6,550,000.00

Estimated Closing Costs
Stamps                                                   $          68,775.00
Misc Costs (Est.)                                        $          10,000.00
Broker/Auctioneer Fees                                   $           5,000.00
Subtotal of Costs                                        $          83,775.00

Cash Available To Selling Estates                        $        6,466,225.00

Total Gross Claims Against Each Estate
Beverly                                                  $        4,986,962.45
1336 NW 60, LLC                                          $          461,577.84
Holdings At City , LLC                                   $          598,632.81
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Estimated Interest on Applicable City Judgments (as of
9/27)                                                    $         160,692.06

Total Gross Claims Against Selling Estate                $        6,207,865.16
                                                                                                  Doc 177




Chapter 11 Administrative Expenses
                                                                              Estimated Fees
                                                                              $120,000, less
                                                                              $56,122.5 held in
Estimated Admin Profesional 11 Claims (beyond retainer amounts)
                                                         $          63,877.50 trust.
Expenses of Receiver and Counsel in Ordinary Course      $          35,000.00
US Trustee Fees                                          Unkown
Subtotal Administrative Expenses (Est.)                  $          98,877.50
                                                                                                  Filed 09/28/18




Total of Claims and Administrative Expenses              $        6,306,742.66


Net Amount Available to Equity Holders (before
Adjudication of claims)                                  $         159,482.34
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                      EXHIBIT “C”
          (Commercial Contract with Addendum)




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          Leiderman Shelomith Alexander + Somodevilla, PLLC
                       Miami | Fort Lauderdale
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